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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     TONY DICKEY, et al.,                               Case No. 15-cv-04922-HSG
                                   8                     Plaintiffs,                        ORDER GRANTING JOINT
                                                                                            STIPULATION REQUESTING
                                   9              v.                                        CLARIFICATION
                                  10     ADVANCED MICRO DEVICES, INC.,                      Re: Dkt. No. 166
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Pending before the Court is the Parties’ Joint Stipulation Requesting Clarification. Dkt.

                                  14   No. 166. Having read and considered the Stipulation, and finding good cause, the Court finds and

                                  15   orders that the Final Approval Order (Dkt. No. 165) is amended and superseded, in part, as

                                  16   follows:

                                  17                   1. No portion of the Settlement Fund shall be paid to the Labor Workforce

                                  18                      Development Agency.
                                  19                   2. Angeion Group, LLC is awarded administrative costs and expenses in the total

                                  20                      amount of $668,031.57 to be paid from the Settlement Fund.

                                  21                   3. The parties are directed to file a stipulated final judgment within 5 days from

                                  22                      the date of this Order.

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                                  24          IT IS SO ORDERED.

                                  25   Dated: 2/27/2020

                                  26                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  27                                                    United States District Judge
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